AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                u Duplicate Original
                                                                                                                        Feb 12, 2021
                                           UNITED STATES DISTRICT COURT                                              s/ JeremyHeacox
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)
                    11 WhatsApp accounts
                                                                            )
                                                                            )
                                                                                   Case No.
                                                                                              21-M-318 (SCD)
                                                                            )
                                                                            )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of
(identify the person or describe the property to be searched and give its location):
  See Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




                                                                                              2-26-21
        YOU ARE COMMANDED to execute this warrant on or before                                         (not to exceed 14 days)
      u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                               u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                         Stephen C. Dries                    .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .

                                       2-12-21 11:00 am
Date and time issued:
                                                                                                          Judge’s signature

City and state: Milwaukee, Wisconsin                                                     Stephen C. Dries, U.S. Magistrate Judge
                                                                                                        Printed name and title
                           Case 2:21-mj-00318-SCD Filed 02/12/21 Page 1 of 34 Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




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                                     ATTACHMENT A

                                   Property to Be Searched

       This warrant applies to information associated with the following phone numbers and for

the following periods, that are stored at premises controlled by WhatsApp, a company that

accepts service of legal process at 1601 Willow Road in Menlo Park, California.

        1. (202) 921-0123 (from January 1, 2016 to present)

        2. (202) 753-9708 (from January 1, 2016 to present)

        3. +91-7054210000 (from January 1, 2016 to present)

        4. +91-8765919198 (from January 1, 2016 to present)

        5. +91-9044971271 (from January 1, 2016 to present)

        6. +54-911 36594384 (from January 1, 2016 to present)

        7. +90-5368406561 (from January 1, 2016 to present)

        8. +91-7304096699 (from June 1, 2018 to present)

        9. +91-9356460394 (from June 1, 2018 to present)

        10. +34-691962857 (from June 1, 2018 to present)

        11. +44-7490620584 (from August 1, 2019 to present)




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                                       ATTACHMENT B

                          Particular Things to be Disclosed and Seized

   I.      Information to be disclosed by WhatsApp (the “Provider”)

        To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, regardless of whether such information is stored, held or

maintained inside or outside of the United States, and including any emails, records, files, logs,

or information that has been deleted but is still available to the Provider, the Provider is required

to disclose the following information to the government for each of the accounts or identifiers

listed in Attachment A:


   a. All stored electronic communications (including drafts, sent items, deleted items, stored
      backup copies, and attachments) and other stored content information contained in or on
      behalf of the accounts.

   b. All histories, profiles, contact lists, email addresses, attachments, screen names, name,
      age, telephone number, physical address, or user IDs, associated with the accounts;

   c. Logs of all access to the accounts, including but not limited to all electronic
      communications sent to or from the account, including dates, times of access, and the
      Internet Protocol addresses (IP addresses) from which the account was accessed, for the
      accounts;

   d. All transactional information concerning activity associated with the accounts, including
      log files, dates, times, methods of connecting, or locations, for the accounts;

   e. All business records and subscriber information, in any form kept, concerning the
      accounts, including applications, account creation date and time, all full names, screen
      names, and account names associated with the subscribers, profile photos, contact lists,
      group chats, methods of payment, telephone numbers, addresses, and detailed billing
      records, for the accounts; and

   f. All records indicating the services available to subscribers of the account.


The Provider is hereby ordered to disclose the above information to the government within 14
days of the issuance of the warrant.




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   II. Information to Be Seized by the Government

       All information described above in Section I that constitutes evidence and

instrumentalities of violations of Title 21, United States Code, Sections 846, 841(a)(1), 841(h),

and 843(c)(2)(A), including but not limited to:

   a. The sale and distribution of controlled substances;

   b. The exchange or laundering of funds related to the sale and distribution of controlled
      substances;

   c. Evidence indicating how and when the WhatsApp account was accessed or used, to
      determine the geographic and chronological context of account access, use, and events
      relating to the crimes under investigation and to the WhatsApp account owner;

   d. Evidence indicating the WhatsApp account owner’s state of mind as it relates to the
      crimes under investigation;

   e. The identity of the person(s) who created or used the account, including records that help
      reveal the whereabouts of such person(s)

   f. Other accounts used by the persons using the account;

   g. The devices used to access the account;

   h. The identity of the person(s) who communicated with the account about matters relating
      to the sale and distribution of controlled substances, including records that help reveal
      their whereabouts;

   i. Financial information, credit card numbers, social security numbers, and other personal
      identifiable information stored on/in the WhatsApp account; and

   j. Communications and files that contain IP addresses and username and passwords.




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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT                                                       Feb 12, 2021
                                                                   for the
                                                                                                                       s/ JeremyHeacox
                                                       Eastern District
                                                     __________         of Wisconsin
                                                                 District  of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                                       Case No.
                 11 WhatsApp accounts
                                                                             )
                                                                             )
                                                                             )
                                                                                                        21-M-318 (SCD)
                                                                             )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A.

located in the                                    District of                                             , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                                Offense Description
        21 U.S.C. 846, 841(a)(1), 841             distribution of a controlled substance, possession with intent to distribute a
        (h), and 843(c)(2)(A)                     controlled substance, internet distribution of controlled substances, and
                                                  conspiracy to do the same
          The application is based on these facts:
        See the attached affidavit.

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                      ) is   requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                 SCOTT SIMONS (Affiliate) Digitally signed by SCOTT SIMONS (Affiliate)
                                                                                                          Date: 2021.02.12 10:08:28 -06'00'

                                                                                                        Applicant’s signature

                                                                                            Scott Simons, Task Force Officer (DEA)
                                                                                                        Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:            02/12/2021
                                                                                                          Judge’s signa
                                                                                                                  signature

City and state: Milwaukee, Wisconsin                                                        Stephen C. Dries, U.S. Magistrate Judge
                      Case 2:21-mj-00318-SCD Filed 02/12/21 Page 6 ofPrinted name and title
                                                                      34 Document           1
                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Scott Simons, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.       I make this affidavit in support of an application for a search warrant for

information associated with a WhatsApp account that is stored at premises owned, maintained,

controlled, or operated by WhatsApp LLC, a social networking company headquartered in

Menlo Park, California. The information to be searched is described in the following paragraphs

and in Attachment A. This affidavit is made in support of an application for a search warrant

under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), and 2703(c)(1)(A) to require WhatsApp to disclose

to the government records and other information in its possession, pertaining to the subscribers

or customers associated with the specified WhatsApp accounts.

       2.       I am a Task Force Officer assigned to the Milwaukee District Office of the Drug

Enforcement Administration (DEA) as a member of the Tactical Diversion Squad (TDS). I

specialize in pharmaceutical investigations. I have worked full-time as a federal task force officer

for the past 7 years and a full-time law enforcement officer with the Greenfield Police

Department for the past 18 years. I am an investigative or law enforcement officer of the United

States within the meaning of Section 2510(7) of Title 18, United States Code, in that I am

empowered by law to conduct investigations of and to make arrests for federal felony offenses.

       3.       During my tenure as a law enforcement officer, I have been involved in the

investigation of drug traffickers in Milwaukee County, in the State of Wisconsin, across the

United States, and internationally. I have received training in the investigation of drug

trafficking, money laundering, and computer crimes. I have worked with informants in the

investigations of drug trafficking. I have participated in the application for and execution of



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numerous search warrants. I have participated directly in numerous narcotics investigations and

arrests in which controlled substances and drug paraphernalia were seized. I am familiar with

methods that are commonly used by drug traffickers to package and prepare controlled

substances for sale.

       4.        The statements in this affidavit are based on my personal knowledge, information

I have received from other law enforcement personnel, publicly available information, and from

persons with knowledge of relevant facts. Because this affidavit is submitted for the limited

purpose of securing a search warrant, I have not included every fact known to me concerning this

investigation.

       5.        Based on the facts as set forth in this affidavit, I respectfully submit that there is

probable cause to believe that the information associated with the accounts identified in

Attachment A, will contain evidence and instrumentalities related to violations of Title 21,

United States Code, Sections 846 (conspiracy to distribute and possess with the intent to

distribute a controlled substance), 841(a)(1) (distribution of a controlled substance), 841(h)

(distribution of a controlled substance by means of the Internet), and 843(c)(2)(A) (use of the

Internet to advertise or offer the sale of a controlled substance), as further described in

Attachment B.

                                  STATUTORY BACKGROUND

       6.        The Ryan Haight Online Pharmacy Consumer Protection Act of 2008 amended

the Controlled Substances Act to address online pharmacies, codified at Title 21, United States

Code, Section 829. No controlled substance that is a prescription drug as determined by the

Federal Food, Drug and Cosmetic Act may be delivered, distributed, or dispensed by means of

the Internet without a valid prescription, as required by Title 21, Code of Federal Regulations,




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Section 1306.09(a).

       7.       According to Section 829, the term “valid prescription” means a prescription that

is issued for a legitimate medical purpose in the usual course of professional practice by a

practitioner who has conducted at least 1 in-person medical evaluation of the patient or a

covering practitioner. The term “in-person medical evaluation” means a medical evaluation that

is conducted with the patient in the physical presence of the practitioner, without regard to

whether portions of the evaluation are conducted by other health professionals. The term

“covering practitioner” means, with respect to the patient, a practitioner who conducts a medical

evaluation (other than an in-person medical evaluation) at the request of a practitioner who has

conducted at least 1 in-person medical evaluation of the patient or an evaluation of the patient

through the practice of telemedicine within the previous 24 months and is temporarily

unavailable to conduct the evaluation of the patient.

       8.       The Ryan Haight Online Pharmacy Consumer Protection Act of 2008 also added

new provisions to prevent the illegal distribution of controlled substances by means of the

Internet, including registration requirements of online pharmacies, Internet pharmacy website

disclosure information requirements, and prescription reporting requirements for online

pharmacies.

                                      PROBABLE CAUSE

       9.       In 2015, the Milwaukee District Office of the DEA initiated an investigation into

the internet pharmacy GOLDPHARMA24 located at www.goldpharma-24.com, which

advertised controlled and non-controlled pharmaceuticals for sale without requiring a

prescription. During the course of the investigation of GOLDPHARMA24, case agents identified

a co-conspirator in Florida (hereinafter referred to as “SOI-1”) and a co-conspirator in Texas




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(hereinafter referred to as “SOI-2”). These two co-conspirators were working together to receive

bulk shipments of controlled pharmaceuticals and reship them to customers throughout the

United States. Case agents interviewed these two co-conspirators and executed federal search

warrants at their residences. These co-conspirators identified multiple drug suppliers, Google

email accounts, and WhatsApp accounts used by their drug suppliers to conduct drug

transactions.

       10.      Case agents began this investigation into the drug suppliers using PILL2DAYS,

BUYETIZOLAM, and PREMIER MEDICAL AGENCY based on evidence acquired from the

cooperating co-conspirators. Case agents conducted multiple controlled buys and communicated

with the drug suppliers, including by the Google email accounts and WhatsApp accounts

belonging to those drug suppliers. According to DEA records, PILL2DAYS, BUYETIZOLAM,

and PREMIER MEDICAL AGENCY are not registered online pharmacies. As described below,

probable cause exists to believe that the Google email accounts and WhatsApp accounts

associated with the phone numbers identified in Attachment A were used to facilitate the

offenses described above.

       11.      An undercover agent in the Eastern District of Wisconsin purchased controlled

pharmaceuticals numerous times from SOI-1 and SOI-2 between July 2019 and August 2020.

The primary method of communication between the undercover agent and SOI-1 was via

WhatsApp. Subsequent analysis of these suspected controlled substances by the DEA laboratory,

identified controlled substances including heroin, methamphetamine, ketamine, tramadol,

diazepam, alprazolam, and modafinil.

       12.      In August 2020, case agents executed federal search warrants in Florida and

Texas at the residences of SOI-1 and SOI-2. Case agents seized electronic devices and




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documents containing evidence identifying many of the drug suppliers and customers,

communication related to the sale of controlled substances, and money laundering of drug

proceeds. Case agents also seized approximately $100,000 in drug proceeds and different types

of suspected controlled pharmaceuticals. Case agents have had the opportunity to interview SOI-

1 and SOI-2 multiple times about the various drug suppliers and the circumstances around

communication with the suppliers and drug payments to the suppliers.

       13.     SOI-1 said that he began as a payment processor. In June 2018, SOI-1 was

contacted online by the co-owners of the online pharmacies www.buyetizolam.com

(“BUYETIZOLAM”)           and    www.compratapentadol.com          (“COMPRATAPENTADOL”).

According to SOI-1, BUYETIZOLAM sells etizolam (an unapproved drug in the United States)

and modafinil (a Schedule IV controlled substance), and COMPRATAPENTADOL sells

tapentadol (a Schedule II controlled substance), modafinil (a Schedule IV controlled substance),

tramadol (a Schedule IV controlled substance), and carisoprodol (a Schedule IV controlled

substance). SOI-1 said that at least 98% of their sales are to customers in the United States. SOI-

1 processed payments for all the orders placed on these websites, and SOI-1 provided cases

agents with a list of all these orders, which included the identity of the customer, address of the

customer, and amount paid for the drugs. SOI-1 identified the primary drug supplier for these

websites as AKSHAY SAKODE, who is the owner of India-based distributor, PREMIER

MEDICAL AGENCY. SOI-1 was directed to forward half of the processed drug payments to

the owners of these websites and the other half to AKSHAY SAKODE. In total, SOI-1

transferred in excess of $1,000,000 in U.S. currency in drug proceeds to bank accounts belonging

to AKSHAY SAKODE and bank accounts belonging to the owners of the websites.

       14.     SOI-1    stated   there   are   three   co-owners     of   BUYETIZOLAM          and




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COMPRATAPENTADOL. SOI-1 told the owners that he would not do business with them

unless they were open with him about the operation. SOI-1 identified the owners as the

following:

   x   DAVID PIERRE LETTINGA – 40% owner

   x   KEVIN VAN DER HULST – 40% owner

   x   Ben – 20% owner

       15.    SOI-1 primarily communicated with LETTINGA, who is an equal owner with

VAN DER HULST. SOI-1 communicated with LETTINGA, via WhatsApp at phone number

+34-691962857, and email address tinuschicken@gmail.com. SOI-1 sent the majority of the

drug proceeds to LETTINGA’s personal bank account in Germany. LETTINGA is a citizen of

the Netherlands, but resides in Spain. SOI-1 maintained an Excel spreadsheet file of all drug

payments that SOI-1 processed for BUYETIZOLAM and COMPRATAPENTADOL, and saved

this Excel file in Google Drive. LETTINGA had access to this file by using the email account

tinuschicken@gmail.com. In addition, SOI-1 communicated with LETTINGA about drug orders,

drug proceeds, and other drug business at email address tinuschicken@gmail.com and

WhatsApp phone number +34-691962857.

       16.    SOI-1 reported that VAN DER HULST was primarily in charge of the technical

side of the drug conspiracy by creating and maintaining the online pharmacy websites. SOI-1

communicated with VAN DER HULST by telephone and email several times and also sent drug

proceeds to VAN DER HULST’s personal bank account in the Netherlands, where VAN DER

HULST resides.

       17.    The third owner of BUYETIZOLAM and COMPRATAPENTADOL is only

known by SOI-1 as “Ben.” Ben taught LETTINGA and VAN DER HULST how to run an illegal



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online pharmacy business. Ben is a 20% owner, owns additional online pharmacies, and is not

engaged in the day-to-day operations with BUYETIZOLAM and COMPRATAPENTADOL.

SOI-1 believes Ben resides in Holland.

       18.    BUYETIZOLAM and COMPRATAPENTADOL websites are supplied by Indian

pharmaceutical distributor PREMIER MEDICAL AGENCY, which is owned by AKSHAY

SAKODE. SOI-1 would transfer half of the drug proceeds to LETTINGA and VAN DER

HULST and the other half to SAKODE’s bank account in India. SOI-1 also utilized PREMIER

MEDICAL AGENCY as SOI-1’s drug supplier for regular bulk drug shipments to SOI-1’s

partner SOI-2 in Texas. These drug shipments were broken down and reshipped to U.S.

customers. SOI-1 stated some of these drugs were shipped to undercover case agents in the

Eastern District of Wisconsin. SOI-1 communicated with SAKODE, via WhatsApp at phone

number +91-7304096699, and Google email address pmagencysales@gmail.com. The

communication with SAKODE via WhatsApp and email, consisted of communication related to

drug orders and drug payments.

       19.    SOI-1 identified another online pharmacy www.pill2days.com (“PILL2DAYS”),

from which SOI-1 had purchased Xanax (a Schedule IV controlled substance) and suspected

Adderall (a Schedule II controlled substance) in the summer of 2020. SOI-1 communicated with

the website representative via email at email address r.stewarts121514@gmail.com. Case

agents later reviewed these emails and saw the discussion of controlled substances being shipped

from overseas to the United States, domestically from re-shippers located in the United States,

prices, a drug photograph, and quantities. SOI-2 was responsible for sending the drug payment,

so SOI-2 communicated with a website representative via telephone at a phone number known to

be used by the online pharmacy PILL2DAYS.




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        Case 2:21-mj-00318-SCD Filed 02/12/21 Page 13 of 34 Document 1
       20.    SOI-1 and SOI-2 were told by PILL2DAYS representatives that they ship

pharmaceuticals from overseas to U.S. customers at the advertised prices on the website. At a

significantly higher price, U.S. customers can receive the drug parcels from domestic re-shippers

they have established. SOI-1 stated he was aware of re-shippers in Arizona and Florida. Case

agents were able to intercept and seize a parcel from PILL2DAYS to SOI-2, which was supposed

to contain 360 tablets of Adderall. This parcel was shipped by a re-shipper in Vermont. These

tablets were sent to the DEA laboratory, and found to contain 364 tablets of modafinil (a

Schedule IV controlled substance).

       21.    Case    agents    reviewed    the   PILL2DAYS        online   pharmacy     website

www.pill2days.com. This website offers the following controlled substances for sale:

   x   Adderall – a Schedule II controlled substance

   x   Phentermine – a Schedule IV controlled substance

   x   Diazepam – a Schedule IV controlled substance

   x   Ativan – a Schedule IV controlled substance

   x   Klonopin – a Schedule IV controlled substance

   x   Xanax – a Schedule IV controlled substance

   x   Ambien – a Schedule IV controlled substance

   x   Soma (carisoprodol) – a Schedule IV controlled substance

   x   Tramadol - a Schedule IV controlled substance.

       22.    SOI-1 and SOI-2 both identified a “broker” located in the United Kingdom, who

was known as DAVE ADDISON JR.              ADDISON communicated about drug orders, drug

payments, and drug shipments, only via a WhatsApp account linked to phone number +44-

7490620584. SOI-2 was the only one who communicated with ADDISON, but the drugs



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received from ADDISON were supplied to the customers belonging to both SOI-1 and SOI-2.

Multiple types of controlled pharmaceuticals were purchased from ADDISON, received by SOI-

2, and then reshipped to customers in the United States. SOI-1 and SOI-2 stated that the Adderall

30mg, which later tested positive for methamphetamine, and Percocet 10mg, which tested

positive for methamphetamine, heroin, tramadol, and caffeine, which SOI-1 and SOI-2 shipped

to undercover case agents during controlled purchases were supplied by ADDISON. All of these

purchases from ADDISON were conducted by communicating via the WhatsApp account linked

to phone number +44-7490620584. All drug payments were made via Bitcoin to different

Bitcoin addresses provided by ADDISON via WhatsApp.

       23.    SOI-1 and SOI-2 stated that ADDISON was just the broker taking the drug orders

on behalf of a shipper located in the United Arab Emirates (UAE). Based on financial and

shipping records reviewed by case agents, the drug parcels appear to be originating from

Pakistan and then shipped through the UAE to the United States. SOI-1 and SOI-2 provided the

identity of several other U.S. customers receiving drug shipments from ADDISON. SOI-1 and

SOI-2 stated that once a drug parcel arrived and the drugs were damaged. SOI-2 told ADDISON

that SOI-2 was going to return the drug parcel to ADDISON. ADDISON provided an address in

London, United Kingdom and directed SOI-2 to ship the drugs to that location. SOI-2 and SOI-1

believe for this reason, and because ADDISON’s phone number has a United Kingdom country

code, that ADDISON is located in the United Kingdom. Case agents reviewed emails and SOI-

2’s cell phone and were able to confirm these details regarding ADDISON, including

ADDISON’s phone number +44-7490620584.




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        Case 2:21-mj-00318-SCD Filed 02/12/21 Page 15 of 34 Document 1
       24.     SOI-1 and SOI-2 provided additional details related to the aforementioned drug

suppliers, as well as other suppliers, and case agents were able to corroborate the information as

true and accurate.

       25.     On November 24, 2020, case agents began communicating with ADDISON via

WhatsApp at phone number +44-7490620584. ADDISON messaged case agents a list of

approximately 23 different medications for sale, including Percocet 10mg and Adderall 30mg.

These are the same medications SOI-1 and SOI-2 purchased from ADDISON and reshipped to

undercover agents. Case agents and ADDISON discussed shipping, drug quantities, and pricing.

ADDISON stated that Bitcoin was the only accepted form of payment and provided additional

details, which matched the information provided by SOI-1 and SOI-2. Case agents informed

ADDISON that case agents operated a domestic reshipping operation in the United States.

ADDISON solicited case agents to receive bulk parcels from ADDISON and reship the drugs to

ADDISON’s customers. Case agents informed ADDISON that this was a possibility in the

future, but first case agents wished to become an established customer. This entire

communication was conducted via the WhatsApp account linked to phone number +44-

7490620584.

       26.     On December 1, 2020, case agents conducted an undercover purchase from

BUYETIZOLAM via the website. Case agents purchased 500 tablets containing a mixture of

tapentadol 150mg (a Schedule II controlled substance) and etizolam 2mg (an unapproved drug in

the United States). In connection with the purchase, case agents were directed via email to

conduct a bank transfer to an account with TransferWise. Case agents received the shipment of

the 500 tablets of the tapentadol and etizolam mixture in blister packs, which were shipped from




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India by the shipper PREMIER MEDICAL AGENCY. The medications were sent to the DEA

laboratory in Chicago, and the test results are pending.

       27.     Case agents later received records from TransferWise, pursuant to a DEA

administrative subpoena, related to the customer account to which undercover agents sent the

drug payment. This TransferWise account belongs to DAVID PIERRE LETTINGA in Spain.

Records revealed that funds from this account were also transferred to another account listing to

KEVIN VAN DER HULST.

       28.     On December 1, 2020, case agents conducted an undercover purchase from

PILL2DAYS via the telephone number (202) 753-9072, which is published on the website. Case

agents purchased 180 tablets of Adderall 30mg (a Schedule II controlled substance). In

connection with the purchase, case agents were directed via text message to conduct a bank

transfer by Zelle to a bank account linked to the phone number (828) 215-5158 and the first

name “Jawed.” Case agents received the shipment of the 180 tablets of suspected Adderall

30mg, which was shipped from Vermont. The substances were sent to the DEA laboratory in

Chicago, and the analysis revealed the presence of tramadol (a Schedule IV controlled

substance).

       29.     Case agents later received records from T-Mobile, pursuant to a DEA

administrative subpoena, requesting records related to phone number (828) 215-5158. The

records revealed that the account is registered to a specific address in Apex, North Carolina.

Case agents accessed files available to the DEA and fully identified a resident at this address

with the first name “Jawed” (hereinafter referred to as “SOI-3”). Case agents later confirmed

SOI-3 is the person who received the drug payment.




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       30.     On December 11, 2020, case agents conducted an undercover purchase from

PILL2DAYS, via the telephone number (202) 753-9072, which is published on the website. Case

agents purchased 180 tablets of hydrocodone 10mg (a Schedule II controlled substance). In

connection with the purchase, case agents were directed via text message to conduct a bank

transfer by Zelle, to a bank account linked to the email address info@vigordose.com and name

“Annie Abraham.” Case agents were sent the tracking number by text message and by email

from r.stewarts121514@gmail.com. This email contained an email signature “Robbie Stewart –

Sales Manager.” Case agents received the shipment of the 180 tablets of suspected hydrocodone

10mg which was shipped from Green Bay, Wisconsin. The medication was sent to the DEA

laboratory in Chicago, and the analysis revealed the presence of tramadol (a Schedule IV

controlled substance).

       31.     Case agents have identified “Annie Abraham” as ANNAMMA ABRAHAM, who

is a suspected payment processor in New York. Case agents identified that the drug shipper

located in Green Bay, Wisconsin also shipped an additional five parcels at the same time as the

drug parcel received by case agents.

       32.     On December 21, 2020, case agents conducted an undercover purchase directly

from WhatsApp via Indian telephone number +91-7304096699. SOI-1 had identified this phone

number as belonging to AKSHAY SAKODE, the owner of PREMIER MEDICAL AGENCY.

Case agents purchased 2,000 tablets of tapentadol 100mg (a Schedule II controlled substance)

and 1,000 tablets of modafinil (a Schedule IV controlled substance). In connection with the

purchase, case agents were directed via WhatsApp message from +91-7304096699 and email

pmagencysales@gmail.com, to conduct a bank transfer to bank account PREMIER MEDICAL

AGENCY       in   India.   Case   agents   were   emailed    five   tracking   numbers    from




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pmagencysales@gmail.com and further communicated with this email address about payment

and the drug transaction. Many of these emails contained an email signature “AKSHAY

SAKODE.” Case agents have received one of the five parcels as of this time and are monitoring

the tracking of the other parcels which are still in transit from India and Singapore. The received

parcel contained blister packs of approximately 600 tablets of tapentadol 100mg (a Schedule II

controlled substance). The medication was sent to the DEA laboratory in Chicago, and the

analysis results are pending. Case agents have further communicated with AKSHAY SAKODE

about the status of the remaining drug parcels via WhatsApp phone number +91-7304096699.

       33.     On January 11, 2021, case agents conducted an undercover purchase from

PILL2DAYS via the telephone number (202) 753-9072, which is published on the website. Case

agents purchased 90 tablets of hydrocodone 10mg (a Schedule II controlled substance), 90

tablets of Xanax 2mg (a Schedule IV controlled substance), and 180 tablets of tapentadol 100mg

(a Schedule II controlled substance). In connection with the purchase, case agents initially asked

to make payment via Bitcoin as a ruse to identify another method of accepted payment. Case

agents were provided with a Bitcoin address via text message. Case agents then requested to

change the payment method to Zelle. Case agents were directed, via text message, to conduct a

bank transfer by Zelle to a bank account linked to the email address info@vigordose.com and

name “Annie Abraham.” Case agents were sent the tracking numbers by text message and by

email from r.stewarts121514@gmail.com. This email contained an email signature “Robbie

Stewart – Sales Manager.” Case agents received the shipment of the 90 tablets of suspected

hydrocodone 10mg which was shipped from Green Bay, Wisconsin, the shipment of the 90

tablets of suspected Xanax 2mg which was shipped from Salem, Oregon, and the shipment of the




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180 tablets of tapentadol 100mg from the Bronx, New York. The medications were sent to the

DEA laboratory in Chicago, and the analysis results are pending.

       34.    Case agents received records from Coinbase, a cryptocurrency platform, pursuant

to a DEA administrative Subpoena, related to the Bitcoin address provided to case agents for the

sending of the drug payment. These records identify the account holder as KATHERINE

MAHANEY residing in Oakland, California and having phone numbers (510) 508-0345 and

(202) 753-9072. The phone number (510) 508-0345 is the phone number linked to a bank

account that SOI-2 sent drug payment to for a drug parcel in August 2020. The phone number

(202) 753-9072 is the phone number published on the PILL2DAYS website and the same phone

number case agents communicate with to place controlled purchases. Furthermore, case agents

have identified additional financial accounts listing to KATHERINE MAHANEY which are

receiving suspected drug payments. As a result, KATHERINE MAHANEY has been identified

as a suspected payment processor. As of January 7, 2021, this Coinbase account held 0.42791853

Bitcoin valued at approximately $15,924.18 in U.S. dollars.

       35.    Case agents have extensively communicated with a PILL2DAYS representative

who identified himself as “Michael,” via text message at phone number (202) 753-9072.

“Michael” has explained that he works in a call center in India, and the prices on the

PILL2DAYS website are for drug parcels shipped from India. For an additional cost, the drug

parcels can be shipped from one of the many domestic re-shippers that PILL2DAYS has

established throughout the United States.

       36.    Case agents received records from J2Web Services, Inc., a VOIP telephone

services, pursuant to a DEA administrative Subpoena, related to the phone number (202) 753-

9072. These records identified the following account details:




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    x    Created Date: June 3, 2020

    x    Name: Robbie Stewart

    x    Company Name: RX202

    x    Email address: r.stewart01@protonmail.com

    x    Creation IP address: 68.123.12.232 (linked to KATHERINE MAHANEY in Oakland,

         CA)

    x    Previous email: katmahaney@hotmail.com

    x    Forwarding number: (510) 508-0345 (linked to KATHERINE MAHANEY)

    x    Billing name: KATHERINE E. MAHANEY

    x    Billing address: 1039 Elbert St., Oakland, CA 94602 (residence of KATHERINE

         MAHANEY)

        37.    Case agents also received text message content and voicemails from J2Web

Services, Inc. Thousands of text messages and voicemails revealed numerous pharmaceutical

drug transactions between the user of this telephone account and customers in the United States.

Several payment methods, financial accounts, and co-conspirators were identified based on the

content. It was observed that KATHERINE MAHANEY communicates regularly with the user

of this telephone number (202) 753-907, she plays a financial role within the organization, and

based on records is believed to be the person who created this telephone account. Case agents

also observed a reference in a text message of “ASHUTOSH VAISH” in Lucknow, India.

        38.    Case agents learned that the Federal Bureau of Investigation in Raleigh, North

Carolina was investigating “SOI-3” for processing fraud payments. Case agents spoke with FBI

Special Agent Harrison Putman, who said that the FBI had executed a search warrant on the




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personal residence of SOI-3 on December 3, 2020. Special Agent Putman reported that SOI-3

wished to speak with case agents about the PILL2DAYS’s drug trafficking organization.

        39.   On January 27, 2021, case agents met with SOI-3.

        40.   SOI-3 stated that in approximately 2015 or 2016, he began working as a payment

processor for the PILL2DAYS drug conspiracy, accepting payments in the form of credit and

debit cards, wire transfers such as Zelle, electronic checks, physical checks, PayPal, and Venmo.

SOI-3 was initially informed by the leader of the drug conspiracy, ASHUTOSH VAISH, that the

sales were for herbal substances. SOI-3 learned from customers in 2018 that the sales were for

the following controlled substances:

    x   Ambien (a Schedule IV controlled substance)

    x   Valium (a Schedule IV controlled substance)

    x   Xanax (a Schedule IV controlled substance)

    x   Klonopin (a Schedule IV controlled substance)

    x   Tramadol (a Schedule IV controlled substance)

    x   Soma (a Schedule IV controlled substance)

    x   Adderall (a Schedule II controlled substance)

    x   Oxycodone (a Schedule II controlled substance)

    x   Hydrocodone (a Schedule II controlled substance)

        41.   SOI-3 stated that ASHUTOSH VAISH is in charge of a call center in Lucknow,

India, which handles all the orders, coordinates the Indian and domestic drug shippers, and

coordinates the payment processors. SOI-3 has met ASHUTOSH VAISH in person in India in

2017 and 2018. Case agents showed SOI-3 known photographs of ASHUTOSH VAISH, and

SOI-3 positively identified ASHUTOSH VAISH. In 2018, SOI-3 confronted ASHUTOSH



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VAISH about the types of drugs being sold, and ASHUTOSH VAISH admitted the drugs were

all “hard drugs” and not herbal substances because “hard drugs” are more profitable.

ASHUTOSH VAISH explained to SOI-3 that ASHUTOSH VAISH has Indian shippers, but for a

higher price for the customer, the drugs can be shipped from numerous re-shippers in the United

States. SOI-3 identified the person who makes the websites for ASHUTOSH VAISH, as

NICOLAS BIGNONE, an Argentine national who lives in Argentina. SOI-3 was introduced to

NICOLAS BIGNONE and communicates with him regularly. NICOLAS BIGNONE has told

SOI-3 that NICOLAS BIGNONE creates the online pharmacy websites for ASHUTOSH VAISH

and others. NICOLAS BIGNONE monitors the customer sales and is paid between $4,000 to

$5,000 up front for every 100 sales. NICOLAS BIGNONE has had SOI-3 register a business in

the U.S. in order for NICOLAS BIGNONE to open bank accounts in Miami, Florida which are

used to receive the payments for creating the online pharmacy websites. SOI-3 primarily

transfers drug payments directly to ASHUTOSH VAISH’s bank account in India, but

occasionally is instructed to transfer the funds to NICOLAS BIGNONE or other co-conspirators.

SOI-3 received on average $20,000 to $25,000 in drug payments per month. SOI-3 said there are

other payment processors throughout the United States, and SOI-3 was told by ASHUTOSH

VAISH that ASHUTOSH VAISH receives $60,000 to $70,000 in drug payments per month.

SOI-3 said that all customer payments he received were from customers in the United States.

        42.   SOI-3 was told by ASHUTOSH VAISH that ASHUTOSH VAISH uses the alias

“Robbie Stewart.” SOI-3 communicates with ASHUTOSH VAISH via WhatsApp, email, and

phone numbers listed below:

    x   (202) 921-0123

    x   (202) 753-9708




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    x    +91-7054210000

    x    +91-8765919198

    x    +91-9044971271

    x    robbiestewarts1909@gmail.com

    x    stewartsrobbie@gmail.com

    x    r.stewarts121514@gmail.com

    x    contact.r.stewarts@protonmail.com

    x    r.stewarts@protonmail.ch

SOI-3 stated that communication at all of these email addresses and phone numbers included

conversations about the drug conspiracy, specifically drug orders, processing payments, and

movement of drug proceeds.

         43.   SOI-3 communicates with NICOLAS BIGNONE via WhatsApp and email listed

below:

   x     +54-911 36594384

   x     +90-5368406561

   x     nick23904@gmail.com

SOI-3 stated communication at the email address and phone numbers via WhatsApp, included

conversations about the drug conspiracy, creation of the websites, payments for drug purchases,

creation of a business for opening domestic bank accounts, and movement of drug proceeds.

SOI-3 stated that NICOLAS BIGNONE also emailed SOI-3 an image of his passport and a

utility bill to assist with creating the business. NICOLAS BIGNONE messages SOI-3 personal

photographs of himself traveling to various countries. SOI-3 provided case agents with these

documents and some photographs of NICOLAS BIGNONE which were sent to SOI-3 via both



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WhatsApp phone numbers.

       44.    On January 16, 2021, case agents communicated with ADDISON via WhatsApp

at phone number +44-7490620584 to conduct a controlled purchase of 500 tablets of Adderall

30mg (suspected to contain methamphetamine) and 500 tablets of Percocet 10mg (suspected to

contain methamphetamine, heroin, tramadol, and caffeine). Case agents and ADDISON

discussed pricing and quantity, and ADDISON said the minimum shipment that the shipper will

ship is 1,000 tablets. ADDISON provided case agents with a Bitcoin address where payment

should be sent. Case agents did send Bitcoins worth approximately $3,100 to the target Bitcoin

address, and ADDISON confirmed that the payment was received. Case agents have discussed

this drug purchase further with ADDISON, and the drug parcel has not been received yet. The

entire conversation with ADDISON was conducted by communicating via WhatsApp account

linked to phone number +44-7490620584.

       45.    On January 16, 2021, case agents communicated with PREMIER MEDICAL

AGENCY and AKSHAY SAKODE via email at pmagencysales@gmail.com                          and via

WhatsApp phone number +91-7304096699. Case agents inquired about the availability of

specific controlled substances and received a message back from WhatsApp phone number +91-

7304096699 and email address pmagencysales@gmail.com. The email included an email

signature and contact information for further discussion. The email signature listed two domains

for the two PREMIER MEDICAL AGENCY online pharmacy websites. Furthermore, the email

signature provided phone number +91-9356460394 to be contacted directly via phone or by

Telegram, WhatsApp, or Signal regarding PREMIER MEDICAL AGENCY. Case agents

reviewed the two online pharmacy websites, and one of the websites has the phone number +91-

9356460394 to be contacted for business with PREMIER MEDICAL AGENCY.




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        46.      BUYETIZOLAM’s WhatsApp records associated with phone number +34-

691962857 are being requested from June 1, 2018 to the present, because SOI-1 and records

indicate that evidence should exist during this time period.

        47.      PREMIER MEDICAL AGENCY’s WhatsApp records associated with phone

numbers +91-7304096699 and +91-9356460394 are being requested from June 1, 2018 to the

present, because SOI-1 and records indicate that evidence should exist during this time period.

        48.      PILL2DAYS’s WhatsApp records associated with phone numbers (202) 921-

0123,    (202)    753-9708,   +91-7054210000,       +91-8765919198,     +91-9044971271,      +54-

91136594384, and +90-5368406561 are being requested from January 1, 2016 to the present,

because SOI-3 and records indicate that evidence should exist during this time period.

        49.      ADDISON’s WhatsApp records associated with phone number +44-7490620584

are being requested from August 1, 2019 to the present, because SOI-1, SOI-2, and records

indicate that evidence should exist during this time period.

        50.      Case agents believe that SOI-1 is a reliable witness as SOI-1 has provided a

statement against SOI-1’s own penal interest, and information provided by SOI-1 has been

independently corroborated by case agents. SOI-1’s criminal history consists of misdemeanor

assault and misdemeanor menacing. SOI-1 has no prior felony convictions. SOI-1 has provided

information in other investigations, and that information was found to be accurate and reliable.

SOI-1 is cooperating with law enforcement for potential consideration for his federal felony drug

distribution arrest, which remains pending.

        51.      Case agents believe that SOI-2 is a reliable witness as SOI-2 has provided a

statement against SOI-2’s own penal interest, and information provided by SOI-2 has been

independently corroborated by case agents. SOI-2’s criminal history consists of one prior federal




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felony conviction for conspiracy to commit health care fraud, mail and wire fraud, money

laundering, and illegal monetary transaction, conspiracy to distribute controlled substances, and

mail fraud. SOI-2 may have been arrested for forgery in the 1980s. SOI-2 has provided

information in other investigations, and that information was found to be accurate and reliable.

SOI-2 is cooperating with law enforcement for potential consideration in his new federal felony

drug conspiracy and drug distribution case, and any revocation sentence for his supervised

release in the prior case.

        52.     Case agents believe that SOI-3 is a reliable witness as SOI-3 has provided a

statement against SOI-3’s own penal interest, and information provided by SOI-3 has been

independently corroborated by case agents. SOI-3’s criminal history consists of one federal

arrest from this investigation. SOI-3 has no prior felony convictions. SOI-3 has provided

information in other investigations, and that information was found to be accurate and reliable.

SOI-3 is cooperating with law enforcement for potential consideration for his federal felony

fraud arrest from this investigation, which remains pending.

        53.     Based on my training and experience and the facts described herein, I believe

BUYETIZOLAM, PREMIER MEDICAL AGENCY, PILL2DAYS, and DAVE ADDISON JR.

are trafficking drugs by shipping controlled pharmaceuticals from overseas to the United States.

The drugs are either shipped directly to the customers or re-shipped to customers by drug re-

shippers in the United States. Co-conspirators in the United States are also operating as payment

processors to facilitate the drug payments. Based on my training and experience and the facts set

forth above, I believe that information related to the WhatsApp accounts linked to phone

numbers: (202) 921-0123, (202) 753-9708, +91-7054210000, +91-8765919198, +91-




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9044971271, +54-911 36594384, +90-5368406561, +91-7304096699, +91-9356460394, +44-

7490620584, and +34-691962857 will contain evidence of these crimes.

       54.     I know from my training and experience that even though WhatsApp does not

regularly maintain completed message content, WhatsApp records will often times provide

details that enable law enforcement to identify the user of the WhatsApp account(s) and identify

his or her location. In this case, the identification of the user of the WhatsApp account will assist

case agents in identifying the true identity and location of the person(s) having control over the

WhatsApp accounts, identification of co-conspirators, financial accounts, the identification of

drug suppliers and shippers, and the identification of customers.

       55.     I also know that persons involved with owning or operating internet pharmacies

and providing the drugs for such internet pharmacies often times communicate by WhatsApp,

which is consistent with the evidence in this investigation. These communications include but are

not limited to drug orders, drug shipping information, and payments for said drugs. In this

investigation, I have had the opportunity to interview multiple co-conspirators who have used

WhatsApp to communicate with other identified and unidentified co-conspirators. Furthermore,

case agents have communicated with co-conspirators using WhatsApp. Based on the interviews

of cooperating co-conspirators and undercover communication with co-conspirators, I know that

WhatsApp is a primary form of communication for this drug conspiracy as it is a universal

communication platform that can be utilized across many countries. WhatsApp is being used by

customers to place drug orders, coordinate drug shipments, and coordinate drug payments.

       56.     For all of the foregoing reasons, case agents are requesting a search warrant for

records and information from WhatsApp for the accounts set forth in Attachment A for the

following: (202) 921-0123, (202) 753-9708, +91-7054210000, +91-8765919198, +91-




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9044971271, +54-911 36594384, and +90-5368406561 for the period of January 1, 2016 to the

present, +91-7304096699, +91-9356460394, and +34-691962857 for the period of June 1, 2018

to the present, and +44-7490620584 for the period of August 1, 2019 to the present. These

beginning dates are the dates case agents are aware these internet pharmacies were in operation.

                 BACKGROUND REGARDING WHATSAPP MESSENGER

       57.      Based on my training and experience, I have learned the following about

WhatsApp Messenger:

             a. WhatsApp provides an electronic communications and networking service which
                is available for Internet enabled “smartphones,” cellular telephones with Internet
                connection capabilities. Subscribers obtain an account by registering with
                WhatsApp after downloading and installing the “WhatsApp” application to their
                “smartphone” and then registering their account. WhatsApp requests subscribers
                to provide basic information, such as their name and telephone number. However,
                the only information that is verified by WhatsApp is the telephone number
                associated with the account;

             b. When messages and content are sent and received through the WhatsApp
                application, the number appears as it would if using Short Message Service
                (SMS) messages, commonly referred to as “text messages,” through the wireless
                network. However, the Internet, and not a telephone network, is the vehicle that
                delivers the content;

             c. The WhatsApp application allows users, through their mobile telephone service
                provider’s data network (i.e. the network enabling email and Internet browsing) or
                through a wireless network access point (i.e. a WiFi enabled device), to connect
                with other devices. Similar to the BlackBerry Messaging (“BBM”) service,
                WhatsApp allows users to send text messages, multimedia (pictures, videos, audio
                messages, etc.), location information, and share contacts with one another free of
                traditional SMS or multimedia messaging service (“MMS”) service rates. Unlike
                the BBM service, however, which only allows BlackBerry users to connect with
                other BlackBerry users, WhatsApp connects a wide range of devices produced by
                multiple telecommunications companies, so long as each device has installed the
                WhatsApp Messenger application. In other words, an Apple iPhone and a
                BlackBerry device can communicate and share an infinite amount of data with one
                another in an SMS format, but free of SMS service rates. This allows for video,
                audio, and other content to be dispersed very widely and globally. WhatsApp also
                allows the users to establish private groups similar to an email thread or
                messaging board;




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             d. WhatsApp maintains electronic records pertaining to individuals and companies
                for which they maintain subscriber accounts. These records may include account
                access information (IP addresses), account holder name, account holder email
                address, message strings, images, video files, attached files, voice messages,
                chats, chat groups, service start date, group chat information, and address book;

             e. Subscribers to WhatsApp may access their accounts on servers maintained or
                owned by WhatsApp from the “smartphones” containing the telephone number
                from which they subscribed to the account and from anywhere in the world; and

             f. Text messages, images, pictures, videos, and audio messages stored in the
                subscriber’s WhatsApp account are stored on WhatsApp’s servers, up to thirty
                (30) days, until delivered to the intended recipients and then are deleted from the
                WhatsApp servers.

             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       58.      I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A), 2703(c)(1)(A), and 2713 by using the

warrant to require WhatsApp to disclose to the government copies of the records and other

information (including the content of communications if available) described in Section I of

Attachment B. Upon receipt of the information described in Section I of Attachment B,

government-authorized persons will review that information to locate the items described in

Section II of Attachment B.

       59.      This application seeks a warrant to search all responsive records and information

under the control of WhatsApp, a provider subject to the jurisdiction of this court, regardless of

where WhatsApp has chosen to store such information. The government intends to require the

disclosure pursuant to the requested warrant of the contents of wire or electronic

communications and any records or other information pertaining to the customers or subscribers

if such communication, record, or other information is within WhatsApp’s possession, custody,

or control, regardless of whether such communication, record, or other information is stored,

held, or maintained outside the United States.



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                                         CONCLUSION

       60.      Based on the information described above, I request that the Court issue the

proposed search warrant for the accounts listed in Attachment A. Because the warrant will be

served on WhatsApp, who will then compile the requested records at a time convenient to it,

there exists reasonable cause to permit the execution of the requested warrant at any time in the

day or night.

       61.      This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A) &

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that – has

jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

       62.      Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.




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                                     ATTACHMENT A

                                   Property to Be Searched

       This warrant applies to information associated with the following phone numbers and for

the following periods, that are stored at premises controlled by WhatsApp, a company that

accepts service of legal process at 1601 Willow Road in Menlo Park, California.

        1. (202) 921-0123 (from January 1, 2016 to present)

        2. (202) 753-9708 (from January 1, 2016 to present)

        3. +91-7054210000 (from January 1, 2016 to present)

        4. +91-8765919198 (from January 1, 2016 to present)

        5. +91-9044971271 (from January 1, 2016 to present)

        6. +54-911 36594384 (from January 1, 2016 to present)

        7. +90-5368406561 (from January 1, 2016 to present)

        8. +91-7304096699 (from June 1, 2018 to present)

        9. +91-9356460394 (from June 1, 2018 to present)

        10. +34-691962857 (from June 1, 2018 to present)

        11. +44-7490620584 (from August 1, 2019 to present)




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                                       ATTACHMENT B

                          Particular Things to be Disclosed and Seized

   I.      Information to be disclosed by WhatsApp (the “Provider”)

        To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, regardless of whether such information is stored, held or

maintained inside or outside of the United States, and including any emails, records, files, logs,

or information that has been deleted but is still available to the Provider, the Provider is required

to disclose the following information to the government for each of the accounts or identifiers

listed in Attachment A:


   a. All stored electronic communications (including drafts, sent items, deleted items, stored
      backup copies, and attachments) and other stored content information contained in or on
      behalf of the accounts.

   b. All histories, profiles, contact lists, email addresses, attachments, screen names, name,
      age, telephone number, physical address, or user IDs, associated with the accounts;

   c. Logs of all access to the accounts, including but not limited to all electronic
      communications sent to or from the account, including dates, times of access, and the
      Internet Protocol addresses (IP addresses) from which the account was accessed, for the
      accounts;

   d. All transactional information concerning activity associated with the accounts, including
      log files, dates, times, methods of connecting, or locations, for the accounts;

   e. All business records and subscriber information, in any form kept, concerning the
      accounts, including applications, account creation date and time, all full names, screen
      names, and account names associated with the subscribers, profile photos, contact lists,
      group chats, methods of payment, telephone numbers, addresses, and detailed billing
      records, for the accounts; and

   f. All records indicating the services available to subscribers of the account.


The Provider is hereby ordered to disclose the above information to the government within 14
days of the issuance of the warrant.




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   II. Information to Be Seized by the Government

       All information described above in Section I that constitutes evidence and

instrumentalities of violations of Title 21, United States Code, Sections 846, 841(a)(1), 841(h),

and 843(c)(2)(A), including but not limited to:

   a. The sale and distribution of controlled substances;

   b. The exchange or laundering of funds related to the sale and distribution of controlled
      substances;

   c. Evidence indicating how and when the WhatsApp account was accessed or used, to
      determine the geographic and chronological context of account access, use, and events
      relating to the crimes under investigation and to the WhatsApp account owner;

   d. Evidence indicating the WhatsApp account owner’s state of mind as it relates to the
      crimes under investigation;

   e. The identity of the person(s) who created or used the account, including records that help
      reveal the whereabouts of such person(s)

   f. Other accounts used by the persons using the account;

   g. The devices used to access the account;

   h. The identity of the person(s) who communicated with the account about matters relating
      to the sale and distribution of controlled substances, including records that help reveal
      their whereabouts;

   i. Financial information, credit card numbers, social security numbers, and other personal
      identifiable information stored on/in the WhatsApp account; and

   j. Communications and files that contain IP addresses and username and passwords.




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